                      Case 2:12-cr-00148-KJM  Document
                                       UNITED STATES    65 Filed
                                                     DISTRICT    06/27/12 Page 1 of 2
                                                              COURT
                                        EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                     )                     Case No. 2:12-cr-00148 KJM
                                              )
       Plaintiff,                             )
                                              )
                v.                            )
                                              )
MIGUEL GONZALEZ-OCHOA, et al.,                )
                                              )
       Defendants.                            )
_____________________________________________ )

                               APPLICATION FOR WRIT OF HABEAS CORPUS
        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               ( ) Ad Testificandum

Name of Detainee:                MIGUEL GONZALEZ OCHOA, CDC No. AD7583
Detained at (custodian):         High Desert State Prison
                                 475-750 Rice Canyon Road
                                 Susanville, California 96127

Detainee is:               a.)   (X) charged in this district by:   (X) Indictment ( ) Information
                                                                    ( ) Petition for Supervised Release Violations

Detainee will:             a.)   (_) return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges.

         Appearance forthwith is necessary in the Eastern District of California for arraignment on federal drug
trafficking indictment.

                                 Signature:                         /s/ Jason Hitt
                                 Printed Name & Phone No:           Jason Hitt 916-554-2751
                                 Attorney of Record for:            United States of America

                                             WRIT OF HABEAS CORPUS
                           (X) Ad Prosequendum                 (_) Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal’s Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: June 26, 2012.

                                                                      UNITED STATES DISTRICT JUDGE

_______________________________________________________________________________________________
Booking or CDC #:           MIGUEL GONZALEZ OCHOA, CDC No. AD7583             X Male Female
Facility Address:           High Desert State Prison
                            475-750 Rice Canyon Road
                            Susanville, California 96127
Facility Phone:             (530) 251-5100, ext. 5702
Currently Incarcerated For: State felony convictions
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_________________________________________________________________________________________________
                                             RETURN OF SERVICE


Executed on   ____________________________              By: ___________________________________________________
                                                            (Signature)
